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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                       3:20-cv-864-RGJ
                             CASE NO. ____________________


                                   ELECTRONICALLY FILED

RENAISSANCE/THE PARK, LLC d/b/a
RENAISSANCE FUN PARK                                                                  PLAINTIFF

V.                                  NOTICE OF REMOVAL

THE CINCINNATI INSURANCE COMPANY                                                    DEFENDANT

                                         *** *** *** ***

        Defendant, The Cincinnati Insurance Company (“Cincinnati”), by counsel, submits this

Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446(a) for the purpose of removing the

above-entitled action from the Jefferson County (Kentucky) Circuit Court to the United States

District Court for the Western District of Kentucky, Louisville Division, and states as follows in

support of this removal.

                                     Entitlement to Removal

        On or about December 21, 2020, through the acceptance of the undersigned counsel (see

attached Exhibit A evidencing acceptance of service and agreement of counsel to extend deadline

for responsive pleadings to January 15, 2021), Cincinnati was served with copies of a Summons

and Complaint in an action filed by Plaintiff, Renaissance/The Park, LLC d/b/a Renaissance Fun

Park (“Plaintiff”), entitled Renaissance/The Park, LLC d/b/a Renaissance Fun Park v. The

Cincinnati Insurance Company, Civil Action Number 20-CI-006955, filed in the Jefferson County

(Kentucky) Circuit Court (the “Complaint”). To Cincinnati’s knowledge, no further proceedings

have occurred in this action. This Notice of Removal is filed within thirty days after Cincinnati

received service of the Complaint, as required by 28 U.S.C. § 1446(b).
        This is a civil action of which this Court has original jurisdiction pursuant to 28 U.S.C. §

1332, and is one which may be removed to this Court by Cincinnati pursuant to the provisions of

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28 U.S.C. § 1441, in that it is a civil action between citizens of different states, and the matter in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

         As alleged in the Complaint, Plaintiff “is a Kentucky LLC with its principal place of

business at 101 North 7th Street, Louisville, Kentucky 40202.” (See Complaint at ¶5.) Kentucky

professional limited liability companies are governed by the laws applicable to other limited

liability companies. Ky. Rev. Stat. Ann. § 275.010(3). For purposes of evaluating diversity

jurisdiction, a limited liability company has the citizenship of each of its members. Delay v.

Rosenthal Collins Grp., LLC, 585 F.3d 1003, 1005 (6th Cir. 2009). According to the publicly

available information on the Kentucky Secretary of State website and on information and belief,

Plaintiff has one member/manger – DKCD, Inc., a Kentucky corporation with its principal place

of business in Kentucky. Thus, on information and belief, Plaintiff is a citizen of the

Commonwealth of Kentucky.

         Cincinnati is now, and at all times referred to in the Complaint, a citizen of the State of

Ohio with its principal place of business in the State of Ohio. Therefore, the parties satisfy the

requirements for diversity of citizenship under 28 U.S.C. § 1332.

         Under 28 U.S.C. § 1332(a), diversity subject matter jurisdiction requires that the matter in

controversy “exceed[] the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C. §

1332(a). This requirement is met. “[A] defendant’s notice of removal need include only a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold”. Dart Cherokee

Basin Operating Co., LLC v. Owens, 574 U.S. 81, 81 (2014). “In actions seeking declaratory or

injunctive relief, it is well established that the amount in controversy is measured by the value of

the object of the litigation.” Freeland v. Liberty Mut. Fire Ins. Co., 632 F.3d 250, 253 (6th Cir.

2011).

         Here, prior to filing its Complaint, including in response to Cincinnati’s request for

information, Plaintiff contended that its business was greatly affected by the Coronavirus

pandemic and related governmental restrictions and provided specific information about its alleged

losses. The Complaint alleges that the Policy provides up to $1,000,000 in coverage and Plaintiff

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alleges entitlement to coverage under the Policy. Based upon the information provided by Plaintiff

and allegations in its subsequently filed Complaint, Cincinnati is informed and believes and based

thereon alleges that the matter in controversy exceeds the sum of $75,000.00, exclusive of interest

and costs.

         Under 28 U.S.C. § 1441, this Court is the appropriate forum in which to file this Notice of

Removal because the United States District Court for the Western District of Kentucky is the

federal judicial district embracing Jefferson County, the county in which the state action was filed.

                                       Process and Pleadings

         A copy of all process, pleadings, and orders served on Cincinnati in the state court action

is attached to this Notice of Removal as Exhibit B, as required by 28 U.S.C. § 1446(a). In addition,

the required Civil Cover Sheet is attached hereto as Exhibit C.

                      Filing Notice of Removal in Jefferson Circuit Court

         Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal will

be promptly given to all adverse parties and shall be filed with the Clerk of the Jefferson Circuit

Court.

         WHEREFORE, Cincinnati respectfully requests that this action be removed to and proceed

hereafter in this Court, and that no further proceedings be had in the Jefferson County Circuit

Court.

         This the 30th day of December, 2020.

                                       KERRICK BACHERT PSC
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                                       /s/ Matthew P. Cook
                                       Thomas N. Kerrick
                                       Matthew P. Cook
                                       Counsel for Defendant, The Cincinnati Insurance Company



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                               CERTIFICATE OF SERVICE

       This will certify that this pleading was electronically filed using the Court’s ECF filing
system on this the 30th day of December, 2020 and that a true and correct copy of same was
forwarded by email and by U.S. Mail on this date to the following:

       John D. Cox
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                                     /s/ Matthew P. Cook
                                     Thomas N. Kerrick
                                     Matthew P. Cook
                                     Counsel for Defendant, The Cincinnati Insurance Company




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